
Gildersleeve, J.
—This action is brought by the plaintiff to recover damages from the defendant for injuries, claimed to have been sustained by plaintiff, on November 10, 1886, by reason of the negligence of the conductor on one of defendant’s cars in starting said car suddenly, while the plaintiff was alighting therefrom. A verdict was rendered in favor of the plaintiff for $3,500, and judgment entered thereon. From this judgment "and from the order denying the defendant’s motion for a new trial, the defendant now appeals.
The only ground urged by the defendant as a reason for setting aside the verdict herein is the alleged error of the trial judge in refusing to charge the defendant’s request, to wit, “ That there is no evidence in this case which shows to a reasonable certainty that the condition of the plaintiff’s body, as testified to by Doctor Outerbridge, was caused by the accident of November 10, 1886.”
The reply of the learned judge to this request was as follows : “ It is for you to determine from the evidence whether they were or were not caused by this accident. If they were not, of course, she cannot recover for them.”
It is difficult to see what reply more suitable to the request under consideration could well have been made by the court below. The issue in the case, towards which this request pointed, was fairly left to the jury, upon all the evidence.
We have examined the other exceptions to which attention is directed by the defendant, but fail to find any error. We are of the opinion that the court below, in the conduct of the trial, fully protected the rights of the defendant, with a due regard for the well settled principles of law applicable to the questions presented.
The judgment and order appealed from are affirmed with costs.
Freedman, P. J., and Dugro, J., concur.
